Case 3:16-cv-08277-DLR Document 3 Filed 11/22/16 Page 1 of 1
REQUEST BY NON-PRISONER PRO SE PARTY

FOR ELECTRONIC NOTICING

   
  

Case Number CV-16-08277-PCT-DLR 1
° NO\/ 2 2 2015

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Type of` personal computer and related software/equipment required:

 

¢ Personal computer running a standard platform such as Windows or Mac OSX

0 lntemet access (high speed is recommended)

A Web browser (Microsoft Internet Explorer 7.0 or 6 .0 or Mozilla Firefox 2 or 1.5)
Adobe Acrobat Reader is needed for viewing e~filed documents

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designated e-mail address.

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